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 5
 6
 7                        IN THE UNITED STATES DISTRICT COURT FOR THE
 8                                  EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                        )   Case No. 1:07-CR-192 AWI
                                                      )
11                          Plaintiff,                )   STIPULATION TO CONTINUE TRIAL DATE
                                                      )
12                                                    )   DATE:     February 17, 2010
                                      v.              )   TIME:     8:30 a.m.
13                                                    )
     DAVID CHAVEZ, SR., et. al.,                      )   HONORABLE Anthony W. Ishii
14                                                    )
                            Defendants.               )
15                                                    )
                                                      )
16
             IT IS HEREBY STIPULATED by and between the parties hereto through their respective
17
     counsel that the trial currently set for February 17, 2010, be continued to May 19, 2010 at 9:00 a.m.
18
     and the trial confirmation currently set for February 1, 2010 be continued to April 12, 2010 at 1:30
19
     p.m. The continuance is requested based upon the need for adequate trial preparation by the parties
20
     in the case.
21
             It is further stipulated by the parties that any delay resulting from this continuance shall be
22
     excluded on the following basis:
23
             1.     Title 18, United States code Section 3161(h)(8)(A) -- that the ends of justice served
24
                    by taking such action outweighs the best interest of the public and the defendant in a
25
                    speedy trial;
26
             2.     Title 18, United States Code, Section 3161(h)(8)(ii) -- that it is unreasonable to expect
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                    adequate preparation for pre-trial proceedings or for the trial itself with the time limits
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 1                  established due to the complexity of the case.
 2                                                         Respectfully submitted,
 3                                                         BENJAMIN B. WAGNER
                                                           United States Attorney
 4
 5   DATED: November 30, 2009                              /s/ Kathleen A. Servatius
                                                           KATHLEEN A. SERVATIUS
 6                                                         Assistant U.S. Attorney
 7   DATED: November 30, 2009                              /s/ J. David Nick
                                                           Attorney for David Chavez, Sr.
 8
 9   DATED: November 30, 2009                              /s/ Ean Vizzi
                                                           Attorney for David Chavez, Jr.
10
11   DATED: November 30, 2009                              /s/ W. Scott Quinlan
                                                           Attorney for John Wayne Wyatt
12
13   DATED: November 30, 2009                              /s/ Francine Zepeda
                                                           Attorney for John Richard Shanks
14
15   DATED: December 9, 2009                               /s/ Anthony P. Capozzi
                                                           Attorney for Jennifer Diane Brown
16
17   DATED: November 30, 2009                              /s/ Roger K. Litman
                                                           Attorney for Israel Cavazos
18
19   DATED: November 30, 2009                              /s/ Salvatore Sciadra
                                                           Attorney for Jonathan M. Chapman
20
21                                                 ORDER
22          Good cause having been shown, the trial scheduled to begin on February 17, 2010, is vacated
23   and is now scheduled for May 19, 2010 at 9:00 a.m. and the trial confirmation currently set for
24   February 1, 2010 be continued to April 12, 2010 at 1:30 p.m.
25          Additionally, time shall be excluded by stipulation from the parties and pursuant to 18 U.S.C.
26   §§ 3161(h)(A) and 3161 (b)(B)(ii).
27   IT IS SO ORDERED.
28   Dated:     December 14, 2009                     /s/ Anthony W. Ishii
     0m8i78                                  CHIEF UNITED STATES DISTRICT JUDGE


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